             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 1 of 16

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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   -------------------------------------------------------X                COMPLAINT
   WALTER SALOMON FLORES TOSTA,
   individually and on behalf of others similarly
   situated,                                                      COLLECTIVE ACTION UNDER
                                                                       29 U.S.C. § 216(b)
                                      Plaintiff,
                                                                             ECF Case
                    -against-

   JOSEPH ROMA & SONS CONSTRUCTION
   INC., JOHN ROMA, and JOSEPH ROMA,

                                       Defendants.
   -------------------------------------------------------X

          Plaintiff Walter Salomon Flores Tosta (“Plaintiff Flores” or “Mr. Flores”), individually and

 on behalf of others similarly situated, by and through his attorneys, Michael Faillace & Associates,

 P.C., upon his knowledge and belief, and as against Joseph Roma & Sons Construction Inc.

 (“Defendant Corporation”), John Roma and                     Joseph Roma, (“Individual Defendants”),

 (collectively, “Defendants”), alleges as follows:

                                            NATURE OF ACTION

        1.       Plaintiff Flores is a former employee of Defendants Joseph Roma & Sons

Construction Inc., John Roma, and Joseph Roma.

        2.       Defendants own, operate, or control a landscaping corporation, located at 330

Stratton Road, New Rochelle, New York 10804 under the name Joseph Roma & Sons Construction

Inc.
               Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 2 of 16

       3.        Upon information and belief, individual Defendants John Roma and Joseph Roma,

serve or served as owners, managers, principals, or agents of Defendant Corporation and, through

this corporate entity, operate or operated the construction corporation as a joint or unified enterprise.

       4.        Plaintiff Flores was employed as a general laborer at the landscaping corporation

located at 330 Stratton Road, New Rochelle, New York 10804.

       5.        At all times relevant to this Complaint, Plaintiff Flores worked for Defendants in

excess of 40 hours per week, without appropriate overtime compensation for the hours that he

worked.

       6.        Rather, Defendants failed to maintain accurate recordkeeping of the hours worked

and failed to pay Plaintiff Flores appropriately for any hours worked, either at the straight rate of

pay or for any additional overtime premium.

          7.     Defendants’ conduct extended beyond Plaintiff Flores to all other similarly situated

employees.

          8.     At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Flores and other employees to work in excess of forty (40) hours per week

without providing the overtime compensation required by federal and state law and regulations.

       9.        Plaintiff Flores now brings this action on behalf of himself, and other similarly

situated individuals, for unpaid overtime wages pursuant to the Fair Labor Standards Act of 1938,

29 U.S.C. § 201 et seq. (“FLSA”), and for violations of the N.Y. Labor Law §§ 190 et seq. and 650

et seq. (the “NYLL”), including applicable liquidated damages, interest, attorneys’ fees and costs.

       10.       Plaintiff Flores seeks certification of this action as a collective action on behalf of

himself, individually, and all other similarly situated employees and former employees of

Defendants pursuant to 29 U.S.C. § 216(b).




                                                   -2-
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 3 of 16

                                  JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal question)

and the FLSA, and supplemental jurisdiction over Plaintiff Flores’s state law claims under 28 U.S.C.

§ 1367(a).

       12.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) because all, or a

substantial portion of, the events or omissions giving rise to the claims occurred in this district,

Defendants maintain their corporate headquarters and offices within this district, and Defendants

operate a landscaping corporation located in this district. Further, Plaintiff Flores was employed by

Defendants in this district.

                                                 PARTIES

                                                   Plaintiff

       13.     Plaintiff Walter Salomon Flores Tosta (“Plaintiff Flores” or “Mr. Flores”) is an

adult individual residing in Westchester County, New York.

       14.     Plaintiff Flores was employed by Defendants at Joseph Roma & Sons Construction

Inc. from approximately May 2011 until on or about June 2016 and then again from on or about

March 2017 until on or about December 2018.

       15.     Plaintiff Flores consents to being a party plaintiff pursuant to 29 U.S.C. § 216(b), and

brings these claims based upon the allegations herein as a representative party of a prospective class

of similarly situated individuals under 29 U.S.C. § 216(b).

                                              Defendants

       16.     At all relevant times, Defendants owned, operated, or controlled a landscaping

corporation, located at 330 Stratton Road, New Rochelle, New York 10804 under the name Joseph

Roma & Sons Construction Inc.

       17.     Upon information and belief, Joseph Roma & Sons Construction Inc. is a domestic

corporation organized and existing under the laws of the State of New York. Upon information and

                                                  -3-
               Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 4 of 16

belief, it maintains its principal place of business at 330 Stratton Road, New Rochelle, New York

10804.

         18.     Defendant John Roma is an individual engaging (or who was engaged) in business in

this judicial district during the relevant time period. Defendant John Roma is sued individually in

his capacity as owner, officer and/or agent of Defendant Corporation. Defendant John Roma

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the wages

and compensation of the employees of Defendants, including Plaintiff Flores, establishes the

schedules of the employees, maintains employee records, and has the authority to hire and fire

employees.

         19.     Defendant Joseph Roma is an individual engaging (or who was engaged) in business

in this judicial district during the relevant time period. Defendant Joseph Roma is sued individually

in his capacity as owner, officer and/or agent of Defendant Corporation. Defendant Joseph Roma

possesses operational control over Defendant Corporation, an ownership interest in Defendant

Corporation, and controls significant functions of Defendant Corporation. He determines the wages

and compensation of the employees of Defendants, including Plaintiff Flores, establishes the

schedules of the employees, maintains employee records, and has the authority to hire and fire

employees.

                                    FACTUAL ALLEGATIONS

                                Defendants Constitute Joint Employers

         20.     Defendants operate a landscaping corporation located in New Rochelle, New York.

         21.     Individual Defendants, John Roma and Joseph Roma, possess operational control

over Defendant Corporation, possess ownership interests in Defendant Corporation, and control

significant functions of Defendant Corporation.



                                                  -4-
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 5 of 16

       22.     Defendants are associated and joint employers, act in the interest of each other with

respect to employees, pay employees by the same method, and share control over the employees.

       23.     Each Defendant possessed substantial control over Plaintiff Flores’s (and other

similarly situated employees’) working conditions, and over the policies and practices with respect

to the employment and compensation of Plaintiff Flores, and all similarly situated individuals,

referred to herein.

       24.     Defendants jointly employed Plaintiff Flores (and all similarly situated employees)

and are Plaintiff Flores’s (and all similarly situated employees’) employers within the meaning of

29 U.S.C. 201 et seq. and the NYLL.

       25.     In the alternative, Defendants constitute a single employer of Plaintiff Flores and/or

similarly situated individuals.

       26.     Upon information and belief, Individual Defendants John Roma and Joseph Roma

operate Defendant Corporation as either an alter ego of themselves and/or fail to operate Defendant

Corporation as an entity legally separate and apart from themselves, by among other things:

              a) failing to adhere to the corporate formalities necessary to operate Defendant

                 Corporation as a Corporation,

              b) defectively forming or maintaining the corporate entity of Defendant Corporation,

                 by, amongst other things, failing to hold annual meetings or maintaining

                 appropriate corporate records,

              c) transferring assets and debts freely as between all Defendants,

              d) operating Defendant Corporation for their own benefit as the sole or majority

                 shareholders,

              e) operating Defendant Corporation for their own benefit and maintaining control over

                 this corporation as a closed Corporation,

              f) intermingling assets and debts of their own with Defendant Corporation,

                                                  -5-
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 6 of 16

              g) diminishing and/or transferring assets of Defendant Corporation to avoid full

                  liability as necessary to protect their own interests, and

              h) Other actions evincing a failure to adhere to the corporate form.

       27.       At all relevant times, Defendants were Plaintiff Flores’s employers within the

meaning of the FLSA and New York Labor Law. Defendants had the power to hire and fire Plaintiff

Flores, controlled the terms and conditions of employment, and determined the rate and method of

any compensation in exchange for Plaintiff Flores’s services.

       In each year from 2014 to 2018, Defendants, both separately and jointly, had a gross annual

       volume of sales of not less than $500,000 (exclusive of excise taxes at the retail level that

       are separately stated).

       28.       In addition, upon information and belief, Defendants and/or their enterprise were

directly engaged in interstate commerce. As an example, numerous items that were used in the

landscaping corporation on a daily basis are goods produced outside of the State of New York.

                                           Individual Plaintiff

       29.       Plaintiff Flores is a former employee of Defendants who was employed as a general

laborer.

       30.       Plaintiff Flores seeks to represent a class of similarly situated individuals under 29

U.S.C. 216(b).

                                 Plaintiff Walter Salomon Flores Tosta

       31.       Plaintiff Flores was employed by Defendants from approximately May 2011 until or

about June 2016 and then again from on or about March 2017 until on or about December 2018.

       32.       Defendants employed Plaintiff Flores as a general laborer, his job duties included

mowing lawns and planting flowers and trees, in residential condominium areas and

private homes, among other job duties.



                                                   -6-
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 7 of 16

       33.     Plaintiff Flores regularly handled goods in interstate commerce, such as landscaping

tools, lawn materials and other supplies produced outside the State of New York.

       34.     Plaintiff Flores’s work duties required neither discretion nor independent judgment.

       35.     Throughout his employment with Defendants, Plaintiff Flores regularly worked in

excess of 40 hours per week.

       36.     From approximately August 2014 until on or about June 2016, Plaintiff Flores

worked from approximately 7:00 a.m. until on or about 4:40 p.m., Monday through Saturday

(typically 57 hours per week).

       37.     From approximately March 2017 until on or about December 2018, Plaintiff Flores

worked from approximately 7:00 a.m. until on or about 4:40 p.m., Monday through Saturday

(typically 57 hours per week).

       38.     Throughout his employment, Defendants paid Plaintiff Flores his wages in cash.

       39.     From approximately August 2014 until on or about June 2016, Defendants paid

Plaintiff Flores $750 per week.

       40.     From approximately March 2017 until on or about December 2018, Defendants paid

Plaintiff Flores $800 per week.

       41.     Plaintiff Flores’s pay did not vary even when he was required to stay later or work a

longer day than his usual schedule.

       42.     For example, Defendants required Plaintiff Flores to work an additional 20 to 30

minutes past his scheduled departure time 1 to 2x a month, and did not pay him for the additional

time he worked.

       43.     Plaintiff Flores was not required to keep track of his time, nor to his knowledge, did

the Defendants utilize any time tracking device such as punch cards, that accurately reflected his

actual hours worked.



                                                 -7-
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 8 of 16

       44.     No notification, either in the form of posted notices or other means, was ever given

to Plaintiff Flores regarding overtime and wages under the FLSA and NYLL.

       45.     Defendants did not provide Plaintiff Flores an accurate statement of wages, as

required by NYLL 195(3).

      46.      Defendants did not give any notice to Plaintiff Flores, in English and in Spanish

(Plaintiff Flores’s primary language), of his rate of pay, employer’s regular pay day, and such other

information as required by NYLL §195(1).

      47.      Defendants required Plaintiff Flores to purchase “tools of the trade” with his own

funds—including gloves which he purchased weekly.

                                 Defendants’ General Employment Practices

      48.      At all times relevant to this Complaint, Defendants maintained a policy and practice

of requiring Plaintiff Flores (and all similarly situated employees) to work in excess of 40 hours a

week without paying him appropriate overtime compensation as required by federal and state laws.

      49.      Plaintiff Flores was a victim of Defendants’ common policy and practices which

violate his rights under the FLSA and New York Labor Law by, inter alia, not paying him the wages

he was owed for the hours he worked.

      50.      Defendants habitually required Plaintiff Flores to work additional hours beyond his

regular shifts but did not provide him with any additional compensation.

      51.      Defendants    willfully disregarded     and   purposefully evaded      recordkeeping

requirements of the FLSA and NYLL by failing to maintain accurate and complete timesheets and

payroll records.

      52.      Defendants paid Plaintiff Flores his wages in cash.

      53.      Defendants failed to post at the workplace, or otherwise provide to employees, the

required postings or notices to employees regarding the applicable wage and hour requirements of

the FLSA and NYLL.

                                                 -8-
            Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 9 of 16

      54.      Upon information and belief, these practices by Defendants were done willfully to

disguise the actual number of hours Plaintiff Flores (and similarly situated individuals) worked, and

to avoid paying Plaintiff Flores properly for his full hours worked.

      55.      Defendants engaged in their unlawful conduct pursuant to a corporate policy of

minimizing labor costs and denying employees compensation by knowingly violating the FLSA and

NYLL.

      56.      Defendants’ unlawful conduct was intentional, willful, in bad faith, and caused

significant damages to Plaintiff Flores and other similarly situated former workers.

      57.      Defendants failed to provide Plaintiff Flores and other employees with accurate wage

statements at the time of their payment of wages, containing: the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of employer;

rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

commission, or other; gross wages; deductions; allowances, if any, claimed as part of the minimum

wage; net wages; the regular hourly rate or rates of pay; the overtime rate or rates of pay; the number

of regular hours worked; and the number of overtime hours worked, as required by NYLL §195(3).

      58.      Defendants failed to provide Plaintiff Flores and other employees, at the time of

hiring and on or before February 1 of each subsequent year, a statement in English and the

employees’ primary language, containing: the rate or rates of pay and basis thereof, whether paid by

the hour, shift, day, week, salary, piece, commission, or other; allowances, if any, claimed as part of

the minimum wage, including tip, meal, or lodging allowances; the regular pay day designated by

the employer; the name of the employer; any “doing business as” names used by the employer; the

physical address of the employer's main office or principal place of business, and a mailing address

if different; and the telephone number of the employer, as required by New York Labor Law §195(1).

                             FLSA COLLECTIVE ACTION CLAIMS



                                                  -9-
                Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 10 of 16

      59.          Plaintiff Flores brings his FLSA overtime compensation and liquidated damages

claims as a collective action pursuant to FLSA Section 16(b), 29 U.S.C. § 216(b), on behalf of all

similarly situated persons (the “FLSA Class members”), i.e., persons who are or were employed by

Defendants or any of them, on or after the date that is three years before the filing of the complaint

in this case (the “FLSA Class Period”).

      60.          At all relevant times, Plaintiff Flores and other members of the FLSA Class were

similarly situated in that they had substantially similar job requirements and pay provisions, and

have been subject to Defendants’ common practices, policies, programs, procedures, protocols and

plans including willfully failing and refusing to pay them the required overtime pay at a one and

one-half their regular rates for work in excess of forty (40) hours per workweek under the FLSA and

willfully failing to keep records under the FLSA.

      61.          The claims of Plaintiff Flores stated herein are similar to those of the other

employees.

                                       FIRST CAUSE OF ACTION

                  VIOLATION OF THE OVERTIME PROVISIONS OF THE FLSA

      62.          Plaintiff Flores repeats and realleges all paragraphs above as though fully set forth

herein.

          63.      At all times relevant to this action, Defendants were Plaintiff Flores’s employers

(and employers of the putative FLSA Class members) within the meaning of the Fair Labor

Standards Act. 29 U.S.C. § 203(d). Defendants had the power to hire and fire Plaintiff Flores (and

the FLSA Class members), controlled the terms and conditions of employment, and determined the

rate and method of any compensation in exchange for his employment.

          64.      At all times relevant to this action, Defendants were engaged in commerce or in an

industry or activity affecting commerce.

          65.      Defendants constitute an enterprise within the meaning of the Fair Labor Standards

                                                    - 10 -
            Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 11 of 16

Act. 29 U.S.C. § 203 (r-s).

      66.      Defendants, in violation of 29 U.S.C. § 207(a)(1), failed to pay Plaintiff Flores (and

the FLSA Class members) overtime compensation at a rate of one and one-half times the regular

rate of pay for each hour worked in excess of forty hours in a work week.

      67.      Defendants’ failure to pay Plaintiff Flores (and the FLSA Class members), overtime

compensation was willful within the meaning of 29 U.S.C. § 255(a).

      68.      Plaintiff Flores (and the FLSA Class members) were damaged in an amount to be

determined at trial.

                                  SECOND CAUSE OF ACTION

                        VIOLATION OF THE OVERTIME PROVISIONS

                          OF THE NEW YORK STATE LABOR LAW

      69.       Plaintiff Flores repeats and realleges all paragraphs above as though fully set forth

herein.

      70.      Defendants, in violation of N.Y. Lab. Law § 190 et seq., and supporting regulations

of the New York State Department of Labor, failed to pay Plaintiff Flores overtime compensation

at rates of one and one-half times the regular rate of pay for each hour worked in excess of forty

hours in a work week.

      71.      Defendants’ failure to pay Plaintiff Flores overtime compensation was willful within

the meaning of N.Y. Lab. Law § 663.

      72.      Plaintiff Flores was damaged in an amount to be determined at trial.

                                   THIRD CAUSE OF ACTION

                   VIOLATION OF THE NOTICE AND RECORDKEEPING

                       REQUIREMENTS OF THE NEW YORK LABOR LAW

      73.       Plaintiff Flores repeats and realleges all paragraphs above as though fully set forth

herein.

                                                 - 11 -
            Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 12 of 16

      74.      Defendants failed to provide Plaintiff Flores with a written notice, in English and in

Spanish (Plaintiff Flores’s primary language), containing: the rate or rates of pay and basis thereof,

whether paid by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any,

claimed as part of the minimum wage, including tip, meal, or lodging allowances; the regular pay

day designated by the employer; the name of the employer; any “doing business as" names used by

the employer; the physical address of the employer's main office or principal place of business, and

a mailing address if different; and the telephone number of the employer, as required by NYLL

§195(1).

      75.      Defendants are liable to Plaintiff Flores in the amount of $5,000, together with costs

and attorneys’ fees.

                                  FOURTH CAUSE OF ACTION

                  VIOLATION OF THE WAGE STATEMENT PROVISIONS

                               OF THE NEW YORK LABOR LAW

      76.       Plaintiff Flores repeats and realleges all paragraphs above as though fully set forth

herein.

      77.      With each payment of wages, Defendants failed to provide Plaintiff Flores with an

accurate statement listing each of the following: the dates of work covered by that payment of wages;

name of employee; name of employer; address and phone number of employer; rate or rates of pay

and basis thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;

gross wages; deductions; allowances, if any, claimed as part of the minimum wage; net wages; the

regular hourly rate or rates of pay; the overtime rate or rates of pay; the number of regular hours

worked; and the number of overtime hours worked, as required by NYLL 195(3).

      78.      Defendants are liable to Plaintiff Flores in the amount of $5,000, together with costs

and attorneys’ fees.

                                   FIFTH CAUSE OF ACTION

                                                 - 12 -
             Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 13 of 16

                               RECOVERY OF EQUIPMENT COSTS

      79.         Plaintiff Flores repeats and realleges all paragraphs above as though fully set forth

herein.

      80.         Defendants required Plaintiff Flores to pay, without reimbursement, the costs and

expenses for purchasing and maintaining equipment and “tools of the trade” required to perform his

job, further reducing his wages in violation of the FLSA and NYLL. 29 U.S.C. § 206(a); 29 C.F.R.

§ 531.35; N.Y. Lab. Law §§ 193 and 198-b.

      81.         Plaintiff Flores was damaged in an amount to be determined at trial.




                                        PRAYER FOR RELIEF

            WHEREFORE, Plaintiff Flores respectfully requests that this Court enter judgment against

 Defendants by:

            (a)    Designating this action as a collective action and authorizing prompt issuance of

 notice pursuant to 29 U.S.C. § 216(b) to all putative class members apprising them of the pendency

 of this action, and permitting them to promptly file consents to be Plaintiffs in the FLSA claims in

 this action;

            (b)    Declaring that Defendants violated the overtime wage provisions of, and associated

 rules and regulations under, the FLSA as to Plaintiff Flores and the FLSA Class members;

            (c)    Declaring that Defendants violated the recordkeeping requirements of, and

 associated rules and regulations under, the FLSA with respect to Plaintiff Flores’s and the FLSA

 Class members’ compensation, hours, wages, and any deductions or credits taken against wages;

            (d)    Declaring that Defendants’ violations of the provisions of the FLSA were willful

 as to Plaintiff Flores and the FLSA Class members;



                                                   - 13 -
         Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 14 of 16

        (e)     Awarding Plaintiff Flores and the FLSA Class members damages for the amount

of unpaid overtime compensation and damages for any improper deductions or credits taken

against wages under the FLSA as applicable;

        (f)     Awarding Plaintiff Flores and the FLSA Class members liquidated damages in an

amount equal to 100% of his damages for the amount of unpaid overtime compensation, and

damages for any improper deductions or credits taken against wages under the FLSA as applicable

pursuant to 29 U.S.C. § 216(b);

        (g)     Declaring that Defendants violated the overtime wage provisions of, and rules and

orders promulgated under, the NYLL as to Plaintiff Flores;

        (h)     Declaring that Defendants violated the notice and recordkeeping requirements of

the NYLL with respect to Plaintiff Flores’s compensation, hours, wages and any deductions or

credits taken against wages;

        (i)     Declaring that Defendants’ violations of the provisions of the NYLL were willful

as to Plaintiff Flores;

        (j)     Awarding Plaintiff Flores damages for the amount of unpaid overtime

compensation, and for any improper deductions or credits taken against wages as applicable

        (k)     Awarding Plaintiff Flores damages for Defendants’ violation of the NYLL notice

and recordkeeping provisions, pursuant to NYLL §§198(1-b), 198(1-d);

        (l)     Awarding Plaintiff Flores liquidated damages in an amount equal to one hundred

percent (100%) of the total amount of overtime compensation shown to be owed pursuant to NYLL

§ 663 as applicable; and liquidated damages pursuant to NYLL § 198(3);

        (m)     Awarding Plaintiff Flores and the FLSA Class members pre-judgment and post-

judgment interest as applicable;

        (n)      Awarding Plaintiff Flores and the FLSA Class members the expenses incurred in

this action, including costs and attorneys’ fees;

                                                - 14 -
         Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 15 of 16

       (o)     Providing that if any amounts remain unpaid upon the expiration of ninety days

following issuance of judgment, or ninety days after expiration of the time to appeal and no appeal

is then pending, whichever is later, the total amount of judgment shall automatically increase by

fifteen percent, as required by NYLL § 198(4); and

       (p)     All such other and further relief as the Court deems just and proper.




                                        JURY DEMAND

                  Plaintiff Flores demands a trial by jury on all issues triable by a jury.

Dated: New York, New York

       August 20, 2020

                                                         MICHAEL FAILLACE & ASSOCIATES, P.C.

                                              By:               /s/ Michael Faillace
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                                                - 15 -
Case 7:20-cv-06710-NSR Document 1 Filed 08/20/20 Page 16 of 16
